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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 BAD RIVER BAND OF THE LAKE
 SUPERIOR TRIBE OF CHIPPEWA
 INDIANS OF THE BAD RIVER
 RESERVATION,

                       Plaintiff,

 v.

 ENBRIDGE ENERGY COMPANY, INC.,
 and ENBRIDGE ENERGY, L.P.,                             Case No. 3:19-cv-00602-wmc

                       Defendants.                      Judge William M. Conley
                                                        Magistrate Judge Stephen L. Crocker

 ENBRIDGE ENERGY COMPANY, INC.,
 and ENBRIDGE ENERGY, L.P.,

                       Counter-Plaintiffs,

 v.

 BAD RIVER BAND OF THE LAKE
 SUPERIOR TRIBE OF CHIPPEWA
 INDIANS OF THE BAD RIVER
 RESERVATION and NAOMI TILLISON,
 in her official capacity,

                       Counter-Defendants.



  BAD RIVER BAND OF THE LAKE SUPERIOR TRIBE OF CHIPPEWA INDIANS’
             EMERGENCY MOTION FOR INJUNCTIVE RELIEF

       The Bad River Band of the Lake Superior Tribe of Chippewa Indians of the Bad River

Reservation (the “Band”) respectfully moves, on an emergency basis, for injunctive relief

requiring Defendants Enbridge Energy Company, Inc., and Enbridge Energy, L.P. (collectively




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“Enbridge”), to purge and shut down the Line 5 pipeline on the Bad River Reservation given the

alarming amount and rate of erosion experienced at the Bad River meander in the last month.

        In the past four weeks, bank erosion at the meander has proceeded at a staggering pace.

At four locations the river is less than 15 feet from the pipeline, and only 11 feet of bank remains

at the E series of monuments. At three of these locations, more bank has been lost in the past

few weeks than presently stands between the pipeline and the river. For instance, at the M3

series of monuments, 34 feet of bank stood between the pipeline and the river before the second

week of April. Even as of the filing of the parties’ Joint Status Report on May 1, 23–24 feet of

bank remained. See Dkt. 627 at 4 (fig. 2). Now, just one week later, 12.5 feet remain.

Significant erosion is continuing as of the filing of this Motion, and the evidence strongly

suggests that further bank loss could be substantial and result in exposure and rupture of the

pipeline. The accompanying Memorandum of Law and Declaration of Ian Paton discuss these

facts in detail.

        Because of the proximity of the river to the pipeline at the meander, the Band requests a

decision on this Motion by this Friday, May 12, 2023, and accordingly asks that the Court issue a

schedule for Enbridge’s briefing (and for argument, if the Court desires it) to reach a resolution

by that date.




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Dated: May 9, 2023                          Respectfully submitted,

                                            /s/ Riyaz A. Kanji
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                    the Bad River Band, in her official capacity




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                                 CERTIFICATE OF SERVICE

       I certify that on May 9, 2023, this document was served on all parties or their counsel of

record through the CM/ECF system if they are registered users or, if they are not, by placing a

true and correct copy in the United States mail, postage prepaid, to their address of record.


                                                             /s/ Riyaz A. Kanji
                                                             Riyaz A. Kanji
